 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONS

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(Full Name of Plaintiff or Plaintiffs)

No. [2-CV-114¢6

(Supplied by Clerk)

vs

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Full Name of Defendant or Defendants)

COMPLAINT

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l. PREVIOUS LAWSUITS
A. Have you begun other lawsuits in state or federal court relating to the same occurrence involved in
this action?

Oo YES G’NO

B. Have you begun other lawsuits in state or federal court?
Oo YES wNO

C._ If your answer to A or B was YES, provide the requested information below. If there is more than
one lawsuit, describe each additional one on a separate sheet of paper, using the same outline.

1. Parties to the previous lawsuit

 

Plaintiff(s)

 

Defendant(s)

 

 

 

2. Court in which lawsuit brought (if federal court, name district: if state court, name the county)

 

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Begin statement of claim: Plain titt Chatles. Beal OSG fytizen oF
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STATEMENT OF CLAIM CONTINUED

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STATEMENT OF CLAIM CONTINUED

 

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IV. RELIEF YOU REQUEST

State exactly what you want the court to do for you. Make no legal arguments. Cite no cases or statutes.
DO NOT USE THIS SPACE TO STATE THE FACTS OF YOUR CLAIM. USE IT ONLY TO REQUEST
REMEDIES FOR THE INJURIES YOU COMPLAIN ABOUT. Use only the space provided. The court
strongly disapproves of requesting remedies outside the space provided.

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| declare under penalty of perjury that the foregoing is true and correct.

Complaint signed this _/ G day of Necembew. 2012. ;

    

 

 

(Signature of Plaintiff(s))

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